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                                 U NITED S TATES D ISTRICT C OURT
                            FOR THE W ESTERN D ISTRICT OF M ICHIGAN




 UNITED STATES OF AMERICA,

                         Plaintiff,                                 No. 1:12-CR-98

 v                                                                  Hon. Robert Holmes Bell

 PABLO RAZO FIERRO,

                         Defendant.



                MEMORANDUM IN SUPPORT OF UNOPPOSED MOTION
                     FOR ENDS-OF-JUSTICE CONTINUANCE


        Defendant Fierro has moved to adjourn the trial and final pretrial conference that are set for

August 17, 2015 and August 4, 2015 respectively.

        An Indictment was returned on April 19, 2012, charging Mr. Fierro with two felony counts

related to social security disability fraud and the allegation that he received disability benefits during

times he was also working. 18 U.S.C. §§ 408(a)(4)(1), (b) and 641. Mr. Fierro was living in Mexico

at the time the Indictment was filed. He returned to the United States, specifically Muskegon,

Michigan, around September of 2014. Mr. Fierro was arrested on the Indictment on June 30, 2015.

He was arraigned on July 1, 2015. He has been detained since his arrest at the Newaygo County

Jail, having been denied pretrial release primarily due to his recent residence in Mexico.

        The parties have been engaging in serious good faith discussions to resolve this case. The

Government provided the defense with discovery in a timely manner and the defense has been

actively conducting its own investigation.

        There are two reasons for defendant’s motion to adjourn that are somewhat related.
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Realistically, defense counsel cannot be adequately prepared to try this case on August 17, and to

file the necessary pleadings for the final pretrial conference on August 4. First, even though the case

is “old” having been filed in 2012, the undersigned is new to the case and has been working on it for

only three weeks. Other lawyers were involved in the case prior to the Indictment being filed and

it is taking some time for the undersigned to secure information from them that may be relevant.

       Second, the final pretrial conference and trial date conflict with vacation time-off the

undersigned has had planned for some time.

       This is the first request for adjournment. The government does not object to this request. See

W.D. MICH . L. CRIM . R. 12.4. Mr. Fierro has executed a written waiver of speedy trial.

       A short adjournment will help ensure that a thorough defense investigation can be completed

so that Mr. Fierro can make an informed decision about his options. The undersigned feels

comfortable stating that she is making substantial progress towards being able to effectively advise

Mr. Fierro of his options, but uncomfortable leaving a matter set for trial - even when the likelihood

of an ultimate settlement is high - on dates when she is out of the district and unavailable.

       The Speedy Trial Act is designed to protect the interests of defendants and the public in

timely criminal trials. United States v. Noone, 913 F.2d 20, 28 (1st Cir. 1990), cert. denied, 500 U.S.

906 (1991). It requires, in general, that trials commence within the later of 70 days of indictment

or the defendant’s first appearance in court. 18 U.S.C. § 3161(c)(1); United States v. Tinson, 23 F.3d

1010, 1012 (6th Cir.1994). The Act provides flexibility necessary to conduct fair trials by excluding

certain events from the 70-day time frame such as various pretrial proceedings. See 18 U.S.C. §§

3161(h)(1)-(9); United States v. Mentz, 840 F.2d 315, 325 (6th Cir.1988). The Act requires

dismissal of the indictment in the event more than 70 non-excludable days pass before the


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commencement of trial, 18 U.S.C. § 3162(a)(2). The trial court has discretion to decide whether

to dismiss the indictment with or without prejudice.

       Excluded from the 70-day time limitations are delays resulting from mental competency

determinations, trial of other charges, interlocutory appeals, pretrial motions and the court’s

consideration of plea agreements. 18 U.S.C. § 3161(h). Delays attributable to plea negotiations are

excludable as “other proceedings.” United States v. Bowers, 834 F.2d 607, 609-10 (6th Cir.1987).

       In the case at bar, the defense makes the request for a continuance to enable the defendant

and counsel to explore all possibilities of an amicable resolution and absent that, adequately prepare

for trial. Under the circumstances, therefore, the defense respectfully submits that the ends of justice

served by granting an adjournment outweigh the best interest of the public and the defendant in a

speedy trial. See 18 U.S.C. § 3161(h)(8)(A). This motion is made is good faith and not for the

purpose of unnecessary delay.

       For the above reasons, the defense respectfully requests the following relief adjournment of

the final pretrial conference and trial for a period of 30 days.

                                               Respectfully Submitted,
Dated: July 22, 2015
                                               WILLEY & CHAMBERLAIN LLP
                                               Attorneys for Defendant

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                                               _________________________________
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